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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

In Re: Local TV Advertising Antitrust
Litigation, et al.
                                                  Plaintiff,
v.                                                             Case No.: 1:18−cv−06785
                                                               Honorable Virginia M.
                                                               Kendall
Hearst Television Inc., et al.
                                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 4, 2022:


        MINUTE entry before the Honorable Virginia M. Kendall. Defendant
Sharebuilders, Inc.'s Motion to maintain seal on certain items in Plaintffs' consolidated
third amended Complaint under seal [596] is granted. Mailed notice(lk, )




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